     Case 3:23-cv-01774-RSH-BLM       Document 107          Filed 05/16/25   PageID.4074   Page 1
                                              of 2


1
2
3
4
5
6
7
8                               UNITED STATES DISTRICT COURT
9                             SOUTHERN DISTRICT OF CALIFORNIA
10
11     BOB BAFFERT, et al.,                                 Case No.: 23-cv-1774-RSH-BLM
12                                        Plaintiffs,
                                                            PRELIMINARY INJUNCTION
13     v.
14     JUSTIN A. WUNDERLER and DANIEL
       DICORCIA,
15
                                       Defendants.
16
17
18
19           On November 26, 2024, the Court granted plaintiff Bob Baffert’s motion for a
20     temporary restraining order (“TRO”) against defendant Justin Wunderler. ECF No. 71.
21     The Court enjoined Mr. Wunderler from “posting threatening or harassing content about
22     Mr. Baffert, Mr. Baffert’s family, or Mr. Baffert’s counsel in this litigation on the social
23     medial platform ‘X’ or any other publication, website, online forum, social media, or
24     review applications” for the pendency of this action.” Id. at 2.1
25
26
27
       1
              At the hearing, Mr. Wunderler agreed to the entry of this TRO for the pendency of
28     this action. Id.
                                                        1
                                                                                     23-cv-1774-RSH-BLM
     Case 3:23-cv-01774-RSH-BLM        Document 107       Filed 05/16/25   PageID.4075   Page 2
                                               of 2


1             On April 18, 2025, Plaintiff filed a motion for a second TRO and request to modify
2      the November 26, 2024 preliminary injunction. ECF No. 93. Plaintiff sought to enjoin
3      Mr. Wunderler from also posting threatening or hassassing content about witnesses in
4      this litigation. Id. at 1.
5             Following a hearing held on April 24, 2025, the Court granted Plaintiff’s motion
6      and entered a TRO on the same day. ECF Nos. 97; 98. The Court set a briefing schedule
7      for whether the TRO should be maintained as a preliminray injunction. ECF No. 97 at 2.
8      The Court cautioned Mr. Wunderler in the TRO that if he did “not file a timely
9      opposition brief, the Court may regard the motion as unopposed and issue a preliminary
10     injunction without holding a further hearing.” Id.
11            Mr. Wunderler’s response to Plaintiff’s motion for a preliminary injunction was
12     due on May 15, 2025 and he has not filed a timely opposition. Id. at 2; see Docket. For
13     these reasons, as well as the reasons stated at the TRO hearing, the Court GRANTS
14     Plaintiff’s motion for a preliminary injunction and ENJOINS Mr. Wunderler as follows:
15                    Mr. Wunderler is enjoined from posting threatening or harassing
16                    content about Mr. Baffert, Mr. Baffert’s family, Mr. Baffert’s counsel,
                      or witnesses in this litigation on the social medial platform “X” or any
17                    other publication, website, online forum, social media, or review
18                    applications; or causing or directing another person to do the same.

19     ECF No. 97 at 1–2. The injunction remains in effect through entry of judgment in this
20     case. The Court further VACATES the hearing on Plaintiff’s motion for preliminary
21     injunction and all remaining briefing deadlines related to the motion.
22            IT IS SO ORDERED.
23     Dated: May 16, 2025                          ___________________________
                                                    Hon. Robert S. Huie
24
                                                    United States District Judge
25
26
27
28

                                                      2
                                                                                   23-cv-1774-RSH-BLM
